            Case 3:14-cr-05159-BHS            Document 142         Filed 01/20/15      Page 1 of 1




 1
                                IN THE UNITED STATES DISTRICT COURT
 2                            FOR THE WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 3

 4   UNITED STATES OF AMERICA,

 5                   Plaintiff,                              No.     CR 14-5159 BHS

 6   -vs-                                                    Order for Non Custody Transportation

 7   DAVID LOZANO-ALVARADO                                   Pursuant to 18 USC 4285

 8                   Defendants.

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12           This matter having come before the undersigned judge on defendant’s motion for transportation
     and subsistence expenses pursuant to 18 USC 4285, and the court having considered the pleading filed in
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     support of the motion and the two previous orders entered with respect to Mr. Lozano-Alvarado,
14           NOW, THEREFORE, IT IS HEREBY ORDERED THAT THE UNITED STATES MARSHAL

15   SHALL arrange and provide the funds for the non-custodial transportation of Defendant David Lozano-
     Alvarado from Pomona, California to Tacoma, Washington for the court appearance(s) scheduled for
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     February 4, 2015, and February 17, 2015. In addition, the United States Marshal shall furnish Defendant
17   an adequate amount of money for subsistence expense to the destination, not to exceed the mount

18   authorized as per diem allowance for travel under 5 USC 5702 (A).
             DATED this 20th day of January, 2015.
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                                                     A
                                                     BENJAMIN H. SETTLE
                                                     United States District Judge
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                                                                                LAW OFFICE OF
                                                                              MARK W. MUENSTER
                                                                             1010 ESTHER STREET
                                                                             VANCOUVER, WA 98660
     ORDER FOR NON-CUSTODIAL TRANSPORTATION                                    (360) 694-5085
